Duration:25 MINUTES

DOCKET No. 25MJ839 DEFENDANT MARK SIMON
AUSA JORJA KNAUER DEF.’S COUNSEL JEFFREY CHARTIER
Mi reraiInep C] repeRAL DEFENDERS Cl cya [1] prESENTMENT ONLY
O INTERPRETER NEEDED
C] DEFENDANT WAIVES PRETRIAL REPORT

ORule5 ORule9 Rule 5(c)(3) LM DetentionHrg. © DATE OF ARREST 3/12/2025 C1 VOL. SURR.

TIME OF ARREST 6:00 A.M , CION writ
C) Other: TIME OF PRESENTMENT 3:45 P.M.

BAIL DISPOSITION

[1] SEE SEP. ORDER
C] DETENTION ON CONSENT W/O PREJUDICE (J DETENTION: RISK OF FLIGHT/DANGER [] SEE TRANSCRIPT
[1] DETENTION HEARING SCHEDULED FOR:
7] AGREED CONDITIONS OF RELEASE
Ci DEF. RELEASED ON OWN RECOGNIZANCE
1 $50,000.00 BOND WM 2 FRP
[ SECURED BY $ CASH/PROPERTY:
WITRAVEL RESTRICTED TO SDNY/EDNY/ SOUTHERN DISTRICT OF FLORIDA FOR COURT PUROPSES AND ATTORNEY MEETINGS ONLY
LCITEMPORARY ADDITIONAL TRAVEL UPON CONSENT OF AUSA & APPROVAL OF PRETRIAL SERVICES
VISURRENDER TRAVEL DOCUMENTS (& NO NEW APPLICATIONS)

| PRETRIAL SUPERVISION: LJ REGULAR USTRICT WM AS DIRECTED BY PRETRIAL SERVICES

[1] DRUG TESTING/TREATMT AS DIRECTED BY PTS [MENTAL HEALTH EVAL/TREATMT AS DIRECTED BY PTS
(] DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

C] HOME INCARCERATION [] HOMEDETENTION [J] CURFEW [] STAND ALONE MONITORING

C] LOCATION MONITORING TECHNOLOGY AS DIRECTED BY PTS (1 GPS

CI DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

(DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] [J DEF. TO CONTINUE OR START EDUCATION PROGRAM
YZ] DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

(DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
7] DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:
; REMAINING CONDITIONS TO BE MET BY: 3/19/2025

ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:

Defendant advised of his rights and the charges against him. Public reading of the Rule 5C3 Affidavit is waived. PTS:
Viosanny Harrison present. Defendant released on agreed upon conditions. See bond.

(Court Reporter:Courtflow)

IZ] DEF. ARRAIGNED; PLEADS NOT GUILTY (CONFERENCE BEFORE D.J. ON
C1 DEF. WAIVES INDICTMENT
7] SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL 3/26/2025

For Rule 5(c)(3) Cases:
7] IDENTITY HEARING WAIVED CO] DEFENDANT TO BE REMOVED
C] PRELIMINARY HEARING IN SDNY WAIVED [] CONTROL DATE FOR REMOVAL:

PRELIMINARY HEARING DATE: C] ON DEFENDANT’S CONSENT

,
DATE: 3/12/2025 Cheba Kron

UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.

WHITE (original) - COURT FILE PINK — U.S. ATTORNEY'S OFFICE YELLOW ~ U.S. MARSHAL GREEN — PRETRIAL SERVICES AGENCY
Rev'd 2016

